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                     UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF ALABAMA
                          NORTHERN DIVISION

UNITED STATES OF AMERICA,                     )
                                              )
      Plaintiff,                              )
                                              )
vs.                                           )     2:17-cr-101-LSC-TFM
                                              )
                                              )
JACOB BYRD,                                   )
                                              )
      Defendant.                              )

                   MEMORANDUM OF OPINION AND ORDER

      On April 7, 2017, Defendant Jacob Byrd filed a “Motion to Dismiss for Lack

of Jurisdiction.” (Doc. 44.) After conducting a hearing on the matter on April 18,

2017, the magistrate judge filed a report and recommendation, recommending that

the motion be denied. (Doc. 79.) The defendant filed objections (doc. 81) and the

Government responded to those objections (doc. 82.)

      Having now carefully reviewed and considered de novo all the materials in

the court file, including the report and recommendation, the objections thereto,

and the response thereto, the Court is of the opinion that the report is due to be and

hereby is ADOPTED, the recommendation is ACCEPTED. Consequently, the

motion to dismiss for lack of jurisdiction (doc. 44) is hereby DENIED.



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DONE and ORDERED on August 24, 2017.



                                    _____________________________
                                           L. Scott Coogler
                                     United States District Judge
                                                                    160704




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